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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE


UNITED STATES OF AMERICA,                       )
                                                )
v.                                              )      1:20-mj-00316-JCN
                                                )
KATRINA F. PREBLE,                              )
                                                )
                    Defendant                   )


                                         ORDER

      The United States Marshal Service shall transport Defendant to the District of Maine

for a competency hearing.

                                          /s/ John C. Nivison
                                          U.S. Magistrate Judge

Dated this 30th day of March, 2021.
